  Case 1:17-cv-01864-RGA Document 3 Filed 01/02/18 Page 1 of 3 PageID #: 27




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROBERT FEINSTEIN, Individually and on          )
 Behalf of All Others Similarly Situated,       )
                                                )
                       Plaintiff,               )
                                                )     C.A. No. 1:17-cv-01864-UNA
        v.                                      )
                                                )
 BONANZA CREEK ENERGY, INC.,                    )
 JACK E. VAUGHN, PAUL KEGLEVIC,                 )
 BRIAN STECK, THOMAS B. TYREE,                  )
 JR., SCOTT D. VOGEL, and JEFFREY E.            )
 WOJAHN,                                        )
                                                )
                       Defendants.              )
                                                )

                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, defendants having

not served an answer or a motion for summary judgment, Plaintiff Robert Feinstein hereby gives

notice of the voluntary dismissal without prejudice as to Bonanza Creek Energy, Inc., Jack E.

Vaughn, Paul Keglevic, Brian Steck, Thomas B. Tyree, Jr., Scott D. Vogel, and Jeffrey E. Wojahn

of the claims asserted in the above-captioned action.

Dated: January 2, 2018

                                                    Respectfully submitted,

                                                    FARUQI & FARUQI, LLP

                                                    /s/ Michael Van Gorder
 OF COUNSEL:                                        Michael Van Gorder (#6214)
                                                    20 Montchanin Road, Suite 145
 FARUQI & FARUQI, LLP                               Wilmington, DE 19807
 Nadeem Faruqi                                      Tel.: (302) 482-3182
 James M. Wilson, Jr.                               Email: mvangorder@faruqilaw.com
 685 Third Ave., 26th Fl.
 New York, NY 10017                                 Counsel for Plaintiff
 Telephone: (212) 983-9330
 Case 1:17-cv-01864-RGA Document 3 Filed 01/02/18 Page 2 of 3 PageID #: 28




Email: nfaruqi@faruqilaw.com
Email: jwilson@faruqilaw.com

Counsel for Plaintiff




                                     2
  Case 1:17-cv-01864-RGA Document 3 Filed 01/02/18 Page 3 of 3 PageID #: 29




                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was filed via the District CM/ECF

system on January 2, 2018, which caused an electronic copy of same to be served automatically

upon all counsel of record.

                                                   /s/Michael Van Gorder
                                                   Michael Van Gorder




                                               3
